                      UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF WISCONSIN
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UNITED STATES OF AMERICA,

                    Plaintiff,
                                                  Case No. 15-cr-156-pp
      v.

DUJUAN CHERRY,

                  Defendant.
______________________________________________________________________________

       ORDER DENYING MOTION FOR RECONSIDERATION FOR THE
 REDUCTION OF SENTENCE PURSUANT TO THE NEW FIRST STEP ACT OF
 2019 18 U.S.C. § 3582(C)(1)(A) AS WELL AS SECTION 12003 OF THE NEW
CARES ACT OF MARCH 26TH, 2020 (DKT. NO. 70) AND DENYING MOTION
                    TO APPOINT COUNSEL (DKT. NO. 71)
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      On June 9, 2020, the court received a letter from the defendant, laying

out the reasons he believed he was eligible for compassionate release. Dkt. No.

63. The court construed the letter as a motion for compassionate release under

the First Step Act, 18 U.S.C. §3582(c)(1)(A). Dkt. No. 69. It obtained input from

probation and the government, then denied the defendant’s motion. Id. The

court first explained to the defendant that it was not authorized under the law

to allow him to serve the rest of his sentence on home confinement. Id. at 4-5.

It next noted that the defendant had not exhausted his remedies by asking the

warden of his institution for compassionate release before asking the court. Id.

at 6. Id. at 8. The defendant was, at the time, a twenty-four-year old man who

was healthy other than reporting asthma and bronchitis. The court explained

the CDC’s current views on the relationship between asthma and COVID-19


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and noted it had no evidence that the defendant’s asthma or bronchitis were

moderate to severe. Id. at 8-9. The court also noted that there were no active

cases of the virus at FCI Pekin, the defendant’s institution, at that time. Id. at

10. The defendant had served less than half of his sentence (and less than the

mandatory minimum) for a traumatic series of armed robberies of pharmacies.

Id.

      The defendant now asks the court to reconsider its decision. Dkt. No. 70.

He says that since he filed his letter, he has tried to comply with the rules

governing compassionate release motions. Id. at 2. He reiterates that he has

asthma and bronchitis. Id. at 3. In response to the court’s statement in its

order that the BOP has no record of the defendant being diagnosed with

asthma or bronchitis, the defendant argues that the BOP’s medical records are

unreliable and that “sometimes it is known that an inmate is safer, if he

doesn’t go to medical and trys to self treat him or her self.” Id. at 5. He says

this is why he needs a lawyer—to help him properly develop his medical record.

Id. He asserts that the court cannot rely on the BOP’s COVID-19 page for

accurate information about the status of the virus at his facility, asserting that

it has reached the women’s facility at Pekin and that staff travel back and forth

between the two facilities. Id. He insists that he is in a high-risk category. Id. at

6. The defendant says that the government should “concede” that he has

exhausted his remedies. Id. at 14. He alleges that staff at Pekin are not

requiring inmates to wear masks, are allowing inmates to congregate in groups

of more than ten and are allowing new inmates in all the time; he also says


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that inmates have not been tested for the virus. Id. at 17. Finally, he

emphasizes more than once that COVID-19 was not a risk when the court

sentenced him. Id. at 20.

      The defendant attached to his motion a letter from the warden of Peking

dated July 29, 2020, denying the defendant’s request for compassionate

release. Dkt. No. 70-1. The court agrees with the defendant that since the time

he filed his first motion, he has complied with the exhaustion requirement. And

since the defendant filed his first motion, things have changed at FCI Pekin. As

of the date of this order, Pekin reports 100 active cases of COVID-19 among

inmates and eight among staff, with eighty-two inmates and seventeen staff

having recovered. https://www.bop.gov/coronavirus/ (under “Full breakdown

and additional details”). So in the five months since the defendant filed his first

letter, there has been an outbreak at Pekin (as there has been at many, if not

most, BOP facilities).

      The court explained in its order denying the petitioner’s first motion that

the defendant mentioned having asthma to pretrial services in 2015, that he

made no mention of asthma or bronchitis to the presentence writer in June

2016 and that probation reported that the BOP had no record of his having

been diagnosed with asthma or bronchitis. In fact, when the defendant spoke

to the presentence writer in 2016, he reported that he was in good health and

not currently under the care of a physician or on any prescribed medications.

Dkt. No. 41 at ¶170. And as the court has noted, he is quite young—twenty-

four years old.


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      The defendant says that he needs a lawyer to help him obtain medical

records, because the BOP’s records can’t be trusted. The defendant does not

say what medical records that lawyer would be able to get. The defendant

himself told the probation officer in June 2016 that he was in good health. If

the defendant has been in BOP custody and the BOP has no record of his

having asthma or bronchitis, it is not clear what other medical records would

exist for the past four years that a lawyer could obtain. And as the court has

explained, even if the defendant does have asthma, the CDC says that those

who have moderate to severe asthma may be more at risk for severe illness if

infected than others. The same is true for chronic bronchitis.

      The court agrees with the defendant that COVID-19 was not an issue at

the time the court sentenced him in June 2018. The court agrees with him that

it most certainly is an issue now, for every incarcerated person. But the

defendant has not presented “extraordinary and compelling” reasons for

release. This court has granted two compassionate release motions over the

past months. Both defendants were of advanced age and had multiple severe

health issues—kidney disease, diabetes, heart conditions, high blood pressure.

Both had served very significant prison terms of over ten years. And neither

had committed violent crimes. The defendant is far better off than those

defendants, even with the outbreak at Pekin.

      Again, the court does not mean to minimize the defendant’s fears. Every

inmate the court has heard from has expressed those fears. The fears are

completely understandable. But fear of the virus—even fear from people who


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may have asthma—is not an “extraordinary and compelling reason” justifying

compassionate release.

      The court DENIES the defendant’s Motion for Reconsideration for the

Reduction of Sentence Pursuant to the New First Step Act of 2018 18 U.S.C.

§ 3582(c)(1)(A) as Well as Section 12003 of the New Cares Act of March 26,

2020. Dkt. No. 70.

      The court DENIES the defendant’s Motion to Request Counsel. Dkt. No.

71.

      Dated in Milwaukee, Wisconsin this 6th day of November, 2020.

                                    BY THE COURT:


                                    ________________________________
                                    HON. PAMELA PEPPER
                                    Chief United States District Judge




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